O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:01CR4-1
                       Robby Truman Sherrill
                                                                           )   USM No: 16577-058
Date of Previous Judgment: 4/17/02                                         )   Randolph Marshall Lee
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29                Amended Offense Level:                                            27
Criminal History Category: II                Criminal History Category:                                        II
Previous Guideline Range:  120 to 121 months Amended Guideline Range:                                          120       to 120   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): The defendant is eligible for a two-level reduction in offense level pursuant to Amendment 706
                     (Retroactive Crack Cocaine Reduction). However, this has no effect on the sentencing guidelines as
                     the defendant is subject to the 120-month statutory mandatory minimum sentence.



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                     4/17/02            shall remain in effect.
IT IS SO ORDERED.

Order Date:          March 3, 2009


Effective Date:
                       (if different from order date)


                     Case 5:01-cr-00004-RLV                      Document 94           Filed 03/04/09       Page 1 of 1
